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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF CALIFORNIA


      UNITED STATES OF AMERICA,                CR. S-12-0076 TLN

                 Plaintiff,

           v.                                  ORDER CONTINUING
                                               STATUS CONFERENCE
      SEAN FARRELL and ETHAN STUART,

                 Defendants.
                                       /


      Pursuant to the stipulation of the parties and good cause

appearing, IT IS HEREBY ORDERED that:

      1.   The status conference in this matter now set for August 28,

2014, at 9:30 a.m., is continued to October 2, 2014, at 9:30 a.m.;

and

      3.   Based upon the representations and stipulation of the

parties, the Court finds that the time exclusion under 18 U.S.C. §

3161(h)(8)(B)(iv) applies and the ends of justice outweigh the best

interest of the public and the defendants in a speedy trial.              The

parties further stipulate and agree that time for trial under the

Speedy Trial Act be excluded pursuant to 18 U.S.C. § 3161(h)(1)(D) &

(h)(7)(A) & (B)(iv), Local Codes E and T-4.             Accordingly, time under

the Speedy Trial Act shall be excluded from August 28, 2014, up to

and including October 2, 2014.

      IT IS SO ORDERED.

Dated: August 28, 2014

                                           Troy L. Nunley
                                           United States District Judge
